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1                             UNITED STATES DISTRICT COURT
2                              EASTERN DISTRICT OF MISSOURI
3                                   EASTERN DIVISION
4
5      MISSOURI PRIMATE FOUNDATION,                         )
       et al.,                                              )
6                                                           )
                          Plaintiffs and                    )
7                         Counterclaim Defendants,)
                                                            )Case No.
8                   vs.                                     )4:16-cv-02163
                                                            )
9      PEOPLE FOR THE ETHICAL TREATMENT                     )
       OF ANIMALS, INC., et al.,                            )
10                                                          )
                          Defendants and                    )
11                        Counterclaim Plaintiffs.)
       _____________________________________)
12
13                         DEPOSITION OF ANDREW SAWYER
14                                  Los Angeles, California
15                             Friday, July 13, 2018
16                                         VOLUME I
17
18
19
20
21    Reported by:
22    RENEE D. ZEPEZAUER, RPR, CRR
23    CSR No. 6275
24    JOB No. 2946092
25    PAGES 1 - 73

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1      this one conversation with Mr. Duckler -- excuse me, you

2      didn't say one conversation.             You've only spoken with

3      Mr. Duckler?

4           A     Yes.

5           Q     So you received plaintiffs' notice of intent to

6      sue letter; correct?

7                 MR. DUCKLER:       I will object to the question on

8      the grounds of the deponent's constitutional rights

9      against self-incrimination.

10     BY MR. GOODMAN:

11          Q     Mr. Sawyer, are you going to follow your

12     attorney's instruction not to answer the question?

13                MR. DUCKLER:       I actually -- to correct the

14     record, I didn't instruct him at all or to not answer.

15     I think maybe Mr. Sawyer wants to say something after I

16     said my objection.

17                MR. GOODMAN:       Thank you.

18                THE WITNESS:       Yes.     I refuse to answer the

19     question pursuant to my constitutional right against

20     self-incrimination.

21     BY MR. GOODMAN:

22          Q     Are you apprehending a risk of criminal

23     prosecution resulting from an answer to my questions?

24                MR. DUCKLER:       I'm going to object to the

25     question on the grounds of the deponent's constitutional

                                                                     Page 8

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1      rights against self-incrimination.

2                  THE WITNESS:      I refuse to answer the question

3      pursuant to my constitutional right against

4      self-incrimination.

5      BY MR. GOODMAN:

6           Q      Do you believe that responding to my question

7      would provide a link in the chain of evidence needed to

8      prosecute you for a federal crime?

9                  MR. DUCKLER:      I will object to the question on

10     the grounds of the deponent's constitutional rights

11     against self-incrimination.

12                 THE WITNESS:      I refuse to answer the question

13     pursuant to my constitutional right against

14     self-incrimination.

15     BY MR. GOODMAN:

16          Q      Mr. Sawyer, do you believe that responding to

17     my question would give the Federal Government an

18     inventory of a source of potentially incriminating

19     evidence?

20                 MR. DUCKLER:      I will object to the question on

21     the grounds of the deponent's constitutional rights

22     against self-incrimination.

23                 THE WITNESS:      I refuse to answer the question

24     pursuant to my constitutional right against

25     self-incrimination.

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1      BY MR. GOODMAN:

2           Q     Mr. Sawyer, through your counsel you

3      represented to the Court that there are instances in

4      civil matters where the criminal liability of a party

5      might manifest, and accusations by activist

6      organizations under the Endangered Species Act 16 USC

7      Section 1540, et seq. against other private citizens

8      form a classic example.

9                 Please identify all such instances of which you

10     are aware.

11                MR. DUCKLER:       I will object to the question on

12     the grounds of the deponent's constitutional rights

13     against self-incrimination.

14                THE WITNESS:       I refuse to answer the question

15     pursuant to my constitutional right against

16     self-incrimination.

17     BY MR. GOODMAN:

18          Q     So you also represented to the Court that

19     information demanded of defendants in a civil ESA case,

20     excuse me, Endangered Species Act case, which I may

21     refer to from time to time as the ESA as a shorthand, is

22     almost guaranteed to later be used against them in some

23     fashion in a separate yet related criminal case.

24                Do you have any information to back up that

25     claim?

                                                                    Page 10

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 1                 MR. DUCKLER:      I will object to the question on

 2      the grounds of the deponent's constitutional rights

 3      against self-incrimination.

 4                 THE WITNESS:      I refuse to answer the question

 5      pursuant to my constitutional right against

 6      self-incrimination.

 7      BY MR. GOODMAN:

 8           Q     So these alleged fears of prosecution if you

 9      reveal Joey's location, which your lawyer asserted on

10      your behalf, you're not going to provide any evidence

11      that this is a real concern that you individually have?

12                 MR. DUCKLER:      I will object to the question on

13      the grounds of the deponent's constitutional rights

14      against self-incrimination.

15                 THE WITNESS:      I refuse to answer the question

16      pursuant to my constitutional right against

17      self-incrimination.

18      BY MR. GOODMAN:

19           Q     You certainly didn't have those fears when you

20      sued PETA and Ms. Scott; correct?

21                 MR. DUCKLER:      I will object to the question on

22      the grounds of the deponent's constitutional rights

23      against self-incrimination.

24                 THE WITNESS:      I refuse to answer the question

25      pursuant to my constitutional right against self

                                                                    Page 11

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 1      incrimination.

 2      BY MR. GOODMAN:

 3           Q     In fact, you requested that the Court determine

 4      that Joey's conditions did not violate the Endangered

 5      Species Act; is that right?

 6                 MR. DUCKLER:      I will object to the question on

 7      the grounds of the deponent's constitutional rights

 8      against self-incrimination.

 9                 THE WITNESS:      I refuse to answer the question

10      pursuant to my constitutional right against

11      self-incrimination.

12      BY MR. GOODMAN:

13           Q     All right.     Mr. Sawyer, from 2015 at least

14      through the present you were and are the legal owner of

15      Joey; is that right?

16                 MR. DUCKLER:      I will object to the question on

17      the grounds of the deponent's constitutional rights

18      against self-incrimination.

19                 THE WITNESS:      I refuse to answer the question

20      pursuant to my constitutional right against

21      self-incrimination.

22      BY MR. GOODMAN:

23           Q     As of November, 2016, Joey was confined at the

24      facilities of the Missouri Primate Foundation; is that

25      right?

                                                                    Page 12

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 1                 MR. DUCKLER:      I will object to the question on

 2      the grounds of the deponent's constitutional rights

 3      against self-incrimination.

 4                 THE WITNESS:      I refuse to answer the question

 5      pursuant to my constitutional right against

 6      self-incrimination.

 7      BY MR. GOODMAN:

 8           Q     While Joey was at the Primate Foundation he was

 9      housed in an enclosure by himself; right?

10                 MR. DUCKLER:      I will object to the question on

11      the grounds of the deponent's constitutional rights

12      against self-incrimination.

13                 THE WITNESS:      I refuse to answer the question

14      pursuant to my constitutional right against

15      self-incrimination.

16      BY MR. GOODMAN:

17           Q     Mr. Sawyer, would you agree that during the

18      time Joey was at the Missouri Primate Foundation the

19      manner in which he was held there failed to meet his

20      basic physiological needs?

21                 MR. DUCKLER:      I will object to the question on

22      the grounds of the deponent's constitutional rights

23      against self-incrimination.

24                 THE WITNESS:      I refuse to answer the question

25      pursuant to my constitutional right against

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 1      self-incrimination.

 2      BY MR. GOODMAN:

 3           Q     And the failure to meet Joey's basic

 4      physiological needs caused Joey harassment and harm as

 5      those terms are defined -- used in the Endangered

 6      Species Act and defined by regulation.

 7                 MR. DUCKLER:      I will object to the question on

 8      the grounds of the deponent's constitutional rights

 9      against self-incrimination.

10                 THE WITNESS:      I refuse to answer the question

11      pursuant to my constitutional right against

12      self-incrimination.

13      BY MR. GOODMAN:

14           Q     Presently, the manner in which Joey is being

15      held fails to meet his basic physiological needs;

16      correct?

17                 MR. DUCKLER:      I will object to the question on

18      the grounds of the deponent's constitutional rights

19      against self-incrimination.

20                 THE WITNESS:      I refuse to answer the question

21      pursuant to my constitutional right against

22      self-incrimination.

23      BY MR. GOODMAN:

24           Q     And the present failure to meet Joey's basic

25      physiological needs causes Joey harassment and harm as

                                                                    Page 14

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 1      those terms are used in the Endangered Species Act and

 2      defined by regulation?

 3                  MR. DUCKLER:      Is that a question?        I didn't

 4      understand the question part of it.

 5                  MR. GOODMAN:      Yes.     I intended my tone to go up

 6      at the end signifying a question mark.               I will ask that

 7      question again.

 8           Q      And the present failure to meet Joey's basic

 9      physiological needs causes Joey harassment and harm as

10      those terms are used in the Endangered Species Act and

11      defined by regulation; is that correct?

12                  MR. DUCKLER:      I will object to the question on

13      the grounds of the deponent's constitutional rights

14      against self-incrimination.

15                  THE WITNESS:      I refuse to answer the question

16      pursuant to my constitutional right against

17      self-incrimination.

18      BY MR. GOODMAN:

19           Q      Would you agree that during the time that Joey

20      was held at Missouri Primate Foundation the manner in

21      which he was held failed to meet his basic behavioral

22      needs?

23                  MR. DUCKLER:      I will object to the question on

24      the grounds of the deponent's constitutional rights

25      against self-incrimination.

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 1                  THE WITNESS:      I refuse to answer the question

 2      pursuant to my constitutional right against

 3      self-incrimination.

 4      BY MR. GOODMAN:

 5           Q      And the failure to meet Joey's basic behavioral

 6      needs caused Joey harassment and harm as those terms are

 7      used in the Endangered Species Act and defined by

 8      regulation; correct?

 9                  MR. DUCKLER:      I will object to the question on

10      the grounds of the deponent's constitutional rights

11      against self-incrimination.

12                  THE WITNESS:      I refuse to answer the question

13      pursuant to my constitutional right against

14      self-incrimination.

15      BY MR. GOODMAN:

16           Q      Mr. Sawyer, presently the manner in which Joey

17      is being held failed to meet his basic behavioral needs;

18      is that right?

19                  MR. DUCKLER:      I will object to the question on

20      the grounds of the deponent's constitutional rights

21      against self-incrimination.

22                  THE WITNESS:      I refuse to answer the question

23      pursuant to my constitutional right against

24      self-incrimination.

25      //

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 1      BY MR. GOODMAN:

 2           Q      And the present failure to meet Joey's basic

 3      behavioral needs causes Joey harassment and harm as

 4      those terms are used in the Endangered Species Act and

 5      defined by regulation; right?

 6                  MR. DUCKLER:      I will object to the question on

 7      the grounds of the deponent's constitutional rights

 8      against self-incrimination.

 9                  THE WITNESS:      I refuse to answer the question

10      pursuant to my constitutional right against

11      self-incrimination.

12      BY MR. GOODMAN:

13           Q      Would you agree that during the time that Joey

14      was at the Missouri Primate Foundation the manner in

15      which he was held failed to meet his basic psychological

16      needs?

17                  MR. DUCKLER:      I will object to the question on

18      the grounds of the deponent's constitutional rights

19      against self-incrimination.

20                  THE WITNESS:      I refuse to answer the question

21      pursuant to my constitutional right against

22      self-incrimination.

23      BY MR. GOODMAN:

24           Q      And the failure to meet Joey's basic

25      psychological needs caused Joey harassment and harm as

                                                                     Page 17

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 1      those terms are used in the Endangered Species Act and

 2      defined by regulation; correct?

 3                  MR. DUCKLER:      I will object to the question on

 4      the grounds of the deponent's constitutional rights

 5      against self-incrimination.

 6                  THE WITNESS:      I refuse to answer the question

 7      pursuant to my constitutional right against

 8      self-incrimination.

 9      BY MR. GOODMAN:

10           Q      Mr. Sawyer, presently the manner in which Joey

11      is held fails to meet his basic psychological needs;

12      right?

13                  MR. DUCKLER:      I will object to the question on

14      the grounds of the deponent's constitutional rights

15      against self-incrimination.

16                  THE WITNESS:      I refuse to answer the question

17      pursuant to my constitutional right against

18      self-incrimination.

19      BY MR. GOODMAN:

20           Q      And the present failure to meet Joey's basic

21      psychological needs causes Joey harassment and harm as

22      those terms are used in the Endangered Species Act and

23      defined by regulation; is that right?

24                  MR. DUCKLER:      I will object to the question on

25      the grounds of the deponent's constitutional rights

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 1      against self-incrimination.

 2                  THE WITNESS:      I refuse to answer the question

 3      pursuant to my constitutional right against

 4      self-incrimination.

 5      BY MR. GOODMAN:

 6           Q      Would you agree that during the time Joey was

 7      at Missouri Primate Foundation the manner in which Joey

 8      was held failed to meet his basic needs for enrichment?

 9                  MR. DUCKLER:      I will object to the question on

10      the grounds of the deponent's constitutional rights

11      against self-incrimination.

12                  THE WITNESS:      I refuse to answer the question

13      pursuant to my constitutional right against

14      self-incrimination.

15      BY MR. GOODMAN:

16           Q      And the failure to meet Joey's basic need for

17      enrichment caused Joey harassment and harm as those

18      terms are used in the Endangered Species Act and defined

19      by regulation; right?

20                  MR. DUCKLER:      I will object to the question on

21      the grounds of the deponent's constitutional rights

22      against self-incrimination.

23                  THE WITNESS:      I refuse to answer the question

24      pursuant to my constitutional right against

25      self-incrimination.

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 1      BY MR. GOODMAN:

 2           Q      Mr. Sawyer, presently the manner in which Joey

 3      is being held fails to meet his basic needs for

 4      enrichment; right?

 5                  MR. DUCKLER:      I will object to the question on

 6      the grounds of the deponent's constitutional rights

 7      against self-incrimination.

 8                  THE WITNESS:      I refuse to answer the question

 9      pursuant to my constitutional right against

10      self-incrimination.

11      BY MR. GOODMAN:

12           Q      And you agree, don't you, that the present

13      failure to meet Joey's basic needs for enrichment causes

14      Joey harassment and harm as those terms are used in the

15      Endangered Species Act and defined by regulation?

16                  MR. DUCKLER:      I will object to the question on

17      the grounds of the deponent's constitutional rights

18      against self-incrimination.

19                  THE WITNESS:      I refuse to answer the question

20      pursuant to my constitutional right against

21      self-incrimination.

22      BY MR. GOODMAN:

23           Q      Mr. Sawyer, would you agree that during the

24      time that Joey was at Missouri Primate Foundation the

25      manner in which Joey was held failed to meet his minimum

                                                                     Page 20

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 1      needs for space?

 2                  MR. DUCKLER:      I will object to the question on

 3      the grounds of the deponent's constitutional rights

 4      against self-incrimination.

 5                  THE WITNESS:      I refuse to answer the question

 6      pursuant to my constitutional right against

 7      self-incrimination.

 8      BY MR. GOODMAN:

 9           Q      And the failure to meet Joey's minimum needs

10      for space caused Joey harassment and harm as those terms

11      are used in the Federal Endangered Species Act and

12      defined by regulation; correct?

13                  MR. DUCKLER:      I will object to the question on

14      the grounds of the deponent's constitutional rights

15      against self-incrimination.

16                  THE WITNESS:      I refuse to answer the question

17      pursuant to my constitutional right against

18      self-incrimination.

19      BY MR. GOODMAN:

20           Q      Presently, the manner in which Joey is being

21      held fails to meet his minimum needs for space; is that

22      right?

23                  MR. DUCKLER:      I will object to the question on

24      the grounds of the deponent's constitutional rights

25      against self-incrimination.

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 1                  THE WITNESS:      I refuse to answer the question

 2      pursuant to my constitutional right against

 3      self-incrimination.

 4      BY MR. GOODMAN:

 5           Q      And the present failure to meet Joey's minimum

 6      needs for space causes him harassment and harm as those

 7      terms are used in the Endangered Species Act and defined

 8      by regulation; right?

 9                  MR. DUCKLER:      I will object to the question on

10      the grounds of the deponent's constitutional rights

11      against self-incrimination.

12                  THE WITNESS:      I refuse to answer the question

13      pursuant to my constitutional right against

14      self-incrimination.

15      BY MR. GOODMAN:

16           Q      Would you agree that during the time Joey was

17      at the Missouri Primate Foundation the conditions in

18      which he was held were unsanitary?

19                  MR. DUCKLER:      I will object to the question on

20      the grounds of the deponent's constitutional rights

21      against self-incrimination.

22                  THE WITNESS:      I refuse to answer the question

23      pursuant to my constitutional right against

24      self-incrimination.

25      //

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 1      BY MR. GOODMAN:

 2           Q      And by keeping Joey in unsanitary conditions it

 3      caused harassment and harm to Joey as those terms are

 4      used in the Endangered Species Act and defined by

 5      regulation; is that right?

 6                  MR. DUCKLER:      I will object to the question on

 7      the grounds of the deponent's constitutional rights

 8      against self-incrimination.

 9                  THE WITNESS:      I refuse to answer the question

10      pursuant to my constitutional right against

11      self-incrimination.

12      BY MR. GOODMAN:

13           Q      Presently the conditions in which Joey is held

14      are unsanitary; correct?

15                  MR. DUCKLER:      I will object to the question on

16      the grounds of the deponent's constitutional rights

17      against self-incrimination.

18                  THE WITNESS:      I refuse to answer the question

19      pursuant to my constitutional right against

20      self-incrimination.

21      BY MR. GOODMAN:

22           Q      And presently keeping Joey in unsanitary

23      conditions causes harassment and/or harm to Joey as

24      those terms are used in the Endangered Species Act and

25      defined by regulation; correct?

                                                                     Page 23

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 1                  MR. DUCKLER:      I will object to the question on

 2      the grounds of the deponent's constitutional rights

 3      against self-incrimination.

 4                  THE WITNESS:      I refuse to answer the question

 5      pursuant to my constitutional right against

 6      self-incrimination.

 7      BY MR. GOODMAN:

 8           Q      Mr. Sawyer, would you agree that during the

 9      time that Joey was at the Missouri Primate Foundation he

10      was not provided with appropriate veterinary care?

11                  MR. DUCKLER:      I will object to the question on

12      the grounds of the deponent's constitutional rights

13      against self-incrimination.

14                  THE WITNESS:      I refuse to answer the question

15      pursuant to my constitutional right against

16      self-incrimination.

17      BY MR. GOODMAN:

18           Q      And do you agree, correct, that the failure to

19      provide Joey with appropriate veterinary care caused him

20      harassment and harm as those terms are used in the

21      Endangered Species Act and defined by regulation?

22                  MR. DUCKLER:      I will object to the question on

23      the grounds of the deponent's constitutional rights

24      against self-incrimination.

25                  THE WITNESS:      I refuse to answer the question

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 1      pursuant to my constitutional right against

 2      self-incrimination.

 3      BY MR. GOODMAN:

 4           Q      Presently Joey is not provided with appropriate

 5      veterinary care, is he?

 6                  MR. DUCKLER:      I will object to the question on

 7      the grounds of the deponent's constitutional rights

 8      against self-incrimination.

 9                  THE WITNESS:      I refuse to answer the question

10      pursuant to my constitutional right against

11      self-incrimination.

12      BY MR. GOODMAN:

13           Q      And the present failure to provide Joey with

14      appropriate veterinary care causes Joey harm and/or

15      harassment as those terms are used in the Endangered

16      Species Act and defined by regulation; correct?

17                  MR. DUCKLER:      I will object to the question on

18      the grounds of the deponent's constitutional rights

19      against self-incrimination.

20                  THE WITNESS:      I refuse to answer the question

21      pursuant to my constitutional right against

22      self-incrimination.

23      BY MR. GOODMAN:

24           Q      Would you agree that during the time that Joey

25      was at the Missouri Primate Foundation he was not

                                                                     Page 25

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 1      provided with a wholesome and nutritious diet?

 2                  MR. DUCKLER:      I will object to the question on

 3      the grounds of the deponent's constitutional rights

 4      against self-incrimination.

 5                  THE WITNESS:      I refuse to answer the question

 6      pursuant to my constitutional right against

 7      self-incrimination.

 8      BY MR. GOODMAN:

 9           Q      And the failure to provide Joey with a

10      wholesome and nutritious diet caused him harassment

11      and/or harm as those terms are used in the Endangered

12      Species Act and defined by regulation; correct?

13                  MR. DUCKLER:      I will object to the question on

14      the grounds of the deponent's constitutional rights

15      against self-incrimination.

16                  THE WITNESS:      I refuse to answer the question

17      pursuant to my constitutional right against

18      self-incrimination.

19      BY MR. GOODMAN:

20           Q      Presently Joey is not provided with a wholesome

21      and nutritious diet; correct?

22                  MR. DUCKLER:      I will object to the question on

23      the grounds of the deponent's constitutional rights

24      against self-incrimination.

25                  THE WITNESS:      I refuse to answer the question

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 1      pursuant to my constitutional right against

 2      self-incrimination.

 3      BY MR. GOODMAN:

 4           Q      And the present failure to provide Joey with a

 5      wholesome and nutritious diet causes Joey harassment

 6      and/or harm and those terms are used in the Endangered

 7      Species Act and defined by regulation; correct?

 8                  MR. DUCKLER:      I will object to the question on

 9      the grounds of the deponent's constitutional rights

10      against self-incrimination.

11                  THE WITNESS:      I refuse to answer the question

12      pursuant to my constitutional right against

13      self-incrimination.

14      BY MR. GOODMAN:

15           Q      Would you agree that during the time that Joey

16      was at the Missouri Primate Foundation he did not have

17      an adequate opportunity to engage in social relations

18      with other members of his species?

19                  MR. DUCKLER:      I will object to the question on

20      the grounds of the deponent's constitutional rights

21      against self-incrimination.

22                  THE WITNESS:      I refuse to answer the question

23      pursuant to my constitutional right against

24      self-incrimination.

25      //

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 1      BY MR. GOODMAN:

 2           Q      And the failure to provide Joey with an

 3      adequate opportunity to engage in social relations with

 4      other members of his species caused him harm and/or

 5      harassment as those terms are used in the Endangered

 6      Species Act and defined by regulation; correct?

 7                  MR. DUCKLER:      I will object to the question on

 8      the grounds of the deponent's constitutional rights

 9      against self-incrimination.

10                  THE WITNESS:      I refuse to answer the question

11      pursuant to my constitutional right against

12      self-incrimination.

13      BY MR. GOODMAN:

14           Q      Presently Joey does not have an adequate

15      opportunity to engage in social relations with other

16      members of his species; correct?

17                  MR. DUCKLER:      I will object to the question on

18      the grounds of the deponent's constitutional rights

19      against self-incrimination.

20                  THE WITNESS:      I refuse to answer the question

21      pursuant to my constitutional right against

22      self-incrimination.

23      BY MR. GOODMAN:

24           Q      And the present failure to provide Joey with an

25      adequate opportunity to engage in social relations with

                                                                     Page 28

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 1      other members of his species causes him harm and/or

 2      harassment as those terms are used in the Endangered

 3      Species Act and defined by regulation; right?

 4                  MR. DUCKLER:      I will object to the question on

 5      the grounds of the deponent's constitutional rights

 6      against self-incrimination.

 7                  THE WITNESS:      I refuse to answer the question

 8      pursuant to my constitutional right against

 9      self-incrimination.

10      BY MR. GOODMAN:

11           Q      During the time Joey was confined at the

12      Missouri Primate Foundation he was confined in a manner

13      that significantly impaired his normal behavioral

14      pattern; is that right?

15                  MR. DUCKLER:      I will object to the question on

16      the grounds of the deponent's constitutional rights

17      against self-incrimination.

18                  THE WITNESS:      I refuse to answer the question

19      pursuant to my constitutional right against

20      self-incrimination.

21      BY MR. GOODMAN:

22           Q      Presently Joey is confined in a manner that

23      significantly impairs his normal behavioral patterns; is

24      that right?

25                  MR. DUCKLER:      I will object to the question on

                                                                     Page 29

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 1      the grounds of the deponent's constitutional rights

 2      against self-incrimination.

 3                  THE WITNESS:      I refuse to answer the question

 4      pursuant to my constitutional right against

 5      self-incrimination.

 6      BY MR. GOODMAN:

 7           Q      Mr. Sawyer's, if Joey's present conditions

 8      continue unabated, he will likely suffer future physical

 9      and psychological harm; is that right?

10                  MR. DUCKLER:      I will object to the question on

11      the grounds of the deponent's constitutional rights

12      against self-incrimination.

13                  THE WITNESS:      I refuse to answer the question

14      pursuant to my constitutional right against

15      self-incrimination.

16                  MS. BERNSTEIN:       Can we go off the record a

17      second?

18                  MR. DUCKLER:      If you're asking me, that's fine.

19      It's not my deposition.          Sure.

20                  MS. BERNSTEIN:       Let's go off the record and

21      take a short break.

22                  (Recess.)

23      BY MR. GOODMAN:

24           Q      All right.     Mr. Sawyer, you received

25      plaintiff's notice of intent to sue letter; correct?

                                                                     Page 30

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 1                  MR. DUCKLER:      I will object to the question on

 2      the grounds of the deponent's constitutional rights

 3      against self-incrimination.

 4                  THE WITNESS:      I refuse to answer the question

 5      pursuant to my constitutional right against

 6      self-incrimination.

 7      BY MR. GOODMAN:

 8           Q      And you received this letter which was attached

 9      to your Complaint as Exhibit A in November of 2016;

10      correct?

11                  MR. DUCKLER:      I will object to the question on

12      the grounds of the deponent's constitutional rights

13      against self-incrimination.

14                  THE WITNESS:      I refuse to answer the question

15      pursuant to my constitutional right against

16      self-incrimination.

17      BY MR. GOODMAN:

18           Q      What did you do after you received this notice

19      letter?

20                  MR. DUCKLER:      I will object to the question on

21      the grounds of the deponent's constitutional rights

22      against self-incrimination.

23                  THE WITNESS:      I refuse to answer the question

24      pursuant to my constitutional right against

25      self-incrimination.

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 1      BY MR. GOODMAN:

 2           Q      Did you communicate with Connie Braun?

 3                  MR. DUCKLER:      I will object to the question on

 4      the grounds of the deponent's constitutional rights

 5      against self-incrimination.

 6                  THE WITNESS:      I refuse to answer the question

 7      pursuant to my constitutional right against

 8      self-incrimination.

 9      BY MR. GOODMAN:

10           Q      Did you retain counsel?

11                  MR. DUCKLER:      I will object to the question on

12      the grounds of the deponent's constitutional rights

13      against self-incrimination.

14                  THE WITNESS:      I refuse to answer the question

15      pursuant to my constitutional right against

16      self-incrimination.

17      BY MR. GOODMAN:

18           Q      When you received this notice, you understood

19      that PETA and Ms. Scott intended to sue you in order to

20      determine that the conditions in which the chimpanzee

21      named Joey was held were a violation of the Endangered

22      Species Act; right?

23                  MR. DUCKLER:      I will object to the question on

24      the grounds of the deponent's constitutional rights

25      against self-incrimination.

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 1                  THE WITNESS:      I refuse to answer the question

 2      pursuant to my constitutional right against

 3      self-incrimination.

 4      BY MR. GOODMAN:

 5           Q      I'm handing you a document titled "Complaint

 6      for Declaratory and Injunctive Relief."              Do you

 7      recognize this?

 8                  MR. DUCKLER:      I will object to the question on

 9      the grounds of the deponent's constitutional rights

10      against self-incrimination.

11                  THE WITNESS:      I refuse to answer the question

12      pursuant to my constitutional right against

13      self-incrimination.

14      BY MR. GOODMAN:

15           Q      And this is the Complaint that you filed

16      against PETA and has been -- it is docket entry 1 in

17      this matter; right?

18                  MR. DUCKLER:      I will object to the question on

19      the grounds of the deponent's constitutional rights

20      against self-incrimination.

21                  THE WITNESS:      I refuse to answer the question

22      pursuant to my constitutional right against

23      self-incrimination.

24      BY MR. GOODMAN:

25           Q      Can you identify this document for the record?

                                                                      Page 33

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 1                  MR. DUCKLER:      Go ahead.

 2                  THE WITNESS:      Can I identify it?

 3      BY MR. GOODMAN:

 4           Q      Please.

 5           A      Looks like a Complaint.

 6           Q      All right.     Who are the parties listed here?

 7           A      It says Missouri Primate Foundation, Connie

 8      Brawn Casey, Andrew Sawyer versus People for the Ethical

 9      Treatment of Animals, Angela Scott aka Angela Ignaso.

10      BY MR. GOODMAN:

11           Q      And you filed this after receiving the notice

12      of intent to sue; right?

13                  MR. DUCKLER:      I will object to the question on

14      the grounds of the deponent's constitutional rights

15      against self-incrimination.

16                  THE WITNESS:      I refuse to answer the question

17      pursuant to my constitutional right against

18      self-incrimination.

19      BY MR. GOODMAN:

20           Q      And you understood that by filing this

21      Complaint you were asking the Court to enter a judgment

22      declaring that the conditions in which Joey was held did

23      not violate the Endangered Species Act; right?

24                  MR. DUCKLER:      I will object to the question on

25      the grounds of the deponent's constitutional rights

                                                                     Page 34

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 1      against self-incrimination.

 2                  THE WITNESS:      I refuse to answer the question

 3      pursuant to my constitutional right against

 4      self-incrimination.

 5      BY MR. GOODMAN:

 6           Q      At the time you filed this lawsuit, what

 7      evidence did you have that Joey's conditions did not

 8      violate the Endangered Species Act?

 9                  MR. DUCKLER:      I will object to the question on

10      the grounds of the deponent's constitutional rights

11      against self-incrimination.

12                  THE WITNESS:      I refuse to answer the question

13      pursuant to my constitutional right against

14      self-incrimination.

15      BY MR. GOODMAN:

16           Q      At the time you filed this lawsuit, where was

17      Joey held?

18                  MR. DUCKLER:      I will object to the question on

19      the grounds of the deponent's constitutional rights

20      against self-incrimination.

21                  THE WITNESS:      I refuse to answer the question

22      pursuant to my constitutional right against

23      self-incrimination.

24      BY MR. GOODMAN:

25           Q      Mr. Sawyer, when you received the notice of

                                                                     Page 35

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 1      intent to sue, you foresaw that PETA and Ms. Scott would

 2      sue you; right?

 3                  MR. DUCKLER:      I will object to the question on

 4      the grounds of the deponent's constitutional rights

 5      against self-incrimination.

 6                  THE WITNESS:      I refuse to answer the question

 7      pursuant to my constitutional right against

 8      self-incrimination.

 9      BY MR. GOODMAN:

10           Q      And you also foresaw at the time that federal

11      prosecutors might institute proceedings in which Joey's

12      condition and location might be material?

13                  MR. DUCKLER:      I will object to the question on

14      the grounds of the deponent's constitutional rights

15      against self-incrimination.

16                  THE WITNESS:      I refuse to answer the question

17      pursuant to my constitutional right against

18      self-incrimination.

19      BY MR. GOODMAN:

20           Q      And to prevent PETA and/or federal prosecutors

21      from accessing potentially incriminating evidence you

22      decided to remove Joey; right?

23                  MR. DUCKLER:      I will object to the question on

24      the grounds of the deponent's constitutional rights

25      against self-incrimination.

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 1                  THE WITNESS:      I refuse to answer the question

 2      pursuant to my constitutional right against

 3      self-incrimination.

 4      BY MR. GOODMAN:

 5           Q      When you removed Joey at that time, did you

 6      apprehend a risk of criminal prosecution if the federal

 7      government knew of Joey's location?

 8                  MR. DUCKLER:      I will object to the question on

 9      the grounds of the deponent's constitutional rights

10      against self-incrimination.

11                  THE WITNESS:      I refuse to answer the question

12      pursuant to my constitutional right against

13      self-incrimination.

14      BY MR. GOODMAN:

15           Q      So when you removed Joey, it was your hope that

16      plaintiffs, by extension the federal government, would

17      not be able to locate incriminating evidence in

18      connection with Joey; correct?

19                  MR. DUCKLER:      I will object to the question on

20      the grounds of the deponent's constitutional rights

21      against self-incrimination.

22                  THE WITNESS:      I refuse to answer the question

23      pursuant to my constitutional right against

24      self-incrimination.

25      //

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 1      BY MR. GOODMAN:

 2           Q      When you removed Joey, you intended to impair

 3      Joey's ability -- availability -- excuse me, for use in

 4      this or any other official proceeding, did you not?

 5                  MR. DUCKLER:      I will object to the question on

 6      the grounds of the deponent's constitutional rights

 7      against self-incrimination.

 8                  THE WITNESS:      I refuse to answer the question

 9      pursuant to my constitutional right against

10      self-incrimination.

11      BY MR. GOODMAN:

12           Q      Mr. Sawyer, where is Joey now?

13                  MR. DUCKLER:      I will object to the question on

14      the grounds of the deponent's constitutional rights

15      against self-incrimination.

16                  THE WITNESS:      I refuse to answer the question

17      pursuant to my constitutional right against

18      self-incrimination.

19      BY MR. GOODMAN:

20           Q      Mr. Sawyer, do you agree that it was reasonably

21      foreseeable at the time of PETA and Ms. Scott's notice

22      that how Joey was kept at the Missouri Primate

23      Foundation would be material evidence in potential

24      litigation against you?

25                  MR. DUCKLER:      I will object to the question on

                                                                     Page 38

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 1      the grounds of the deponent's constitutional rights

 2      against self-incrimination.

 3                  THE WITNESS:      I refuse to answer the question

 4      pursuant to my constitutional right against

 5      self-incrimination.

 6      BY MR. GOODMAN:

 7           Q      Indeed you understood that at the time that

 8      Joey and his conditions at Missouri Primate Foundation

 9      would be used as evidence in upcoming litigation that

10      PETA and Ms. Scott might bring against you; right?

11                  MR. DUCKLER:      I will object to the question on

12      the grounds of the deponent's constitutional rights

13      against self-incrimination.

14                  THE WITNESS:      I refuse to answer the question

15      pursuant to my constitutional right against

16      self-incrimination.

17      BY MR. GOODMAN:

18           Q      And you also understood that in order to decide

19      PETA's claim in the upcoming litigation it would be

20      necessary for a judge to evaluate how Joey was kept and

21      treated?

22                  MR. DUCKLER:      I will object to the question on

23      the grounds of the deponent's constitutional rights

24      against self-incrimination.

25                  THE WITNESS:      I refuse to answer the question

                                                                     Page 39

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 1      pursuant to my constitutional right against

 2      self-incrimination.

 3      BY MR. GOODMAN:

 4           Q      Even though you were aware that Joey's

 5      conditions at the Missouri Primate Foundation would be

 6      important events in any upcoming litigation, you

 7      nevertheless decided to remove Joey from there; right?

 8                  MR. DUCKLER:      I will object to the question on

 9      the grounds of the deponent's constitutional rights

10      against self-incrimination.

11                  THE WITNESS:      I refuse to answer the question

12      pursuant to my constitutional right against

13      self-incrimination.

14      BY MR. GOODMAN:

15           Q      Before you removed Joey from the Missouri

16      Primate Foundation, you made no effort to preserve

17      evidence of the conditions in which he was kept; right?

18                  MR. DUCKLER:      I will object to the question on

19      the grounds of the deponent's constitutional rights

20      against self-incrimination.

21                  THE WITNESS:      I refuse to answer the question

22      pursuant to my constitutional right against

23      self-incrimination.

24      BY MR. GOODMAN:

25           Q      You could have preserved evidence by taking

                                                                     Page 40

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 1      photographs or videos of Joey's condition at Missouri

 2      Primate Foundation; right?

 3                  MR. DUCKLER:      I will object to the question on

 4      the grounds of the deponent's constitutional rights

 5      against self-incrimination.

 6                  THE WITNESS:      I refuse to answer the question

 7      pursuant to my constitutional right against

 8      self-incrimination.

 9      BY MR. GOODMAN:

10           Q      And you did not do that?

11                  MR. DUCKLER:      I will object to the question on

12      the grounds of the deponent's constitutional rights

13      against self-incrimination.

14                  THE WITNESS:      I refuse to answer the question

15      pursuant to my constitutional right against

16      self-incrimination.

17      BY MR. GOODMAN:

18           Q      You also did not provide PETA or Ms. Scott with

19      the ability to take photographs or video of Joey's

20      conditions at the Missouri Primate Foundation before you

21      removed him; right?

22                  MR. DUCKLER:      I will object to the question on

23      the grounds of the deponent's constitutional rights

24      against self-incrimination.

25                  THE WITNESS:      I refuse to answer the question

                                                                     Page 41

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 1      pursuant to my constitutional right against

 2      self-incrimination.

 3      BY MR. GOODMAN:

 4           Q      Please identify all persons with whom you

 5      communicated about the removal of Joey from the Missouri

 6      Primate Foundation and transferring him to another

 7      location.

 8                  MR. DUCKLER:      I will object to the question on

 9      the grounds of the deponent's constitutional rights

10      against self-incrimination.

11                  THE WITNESS:      I refuse to answer the question

12      pursuant to my constitutional right against

13      self-incrimination.

14      BY MR. GOODMAN:

15           Q      Please identify all written communications

16      reflecting Joey's removal and transfer after you

17      received the notice letter.

18                  MR. DUCKLER:      I will object to the question on

19      the grounds of the deponent's constitutional rights

20      against self-incrimination.

21                  THE WITNESS:      I refuse to answer the question

22      pursuant to my constitutional right against

23      self-incrimination.

24      BY MR. GOODMAN:

25           Q      Mr. Sawyer -- Mr. Sawyer, your purpose in

                                                                     Page 42

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 1      relocating Joey from the Missouri Primate Foundation was

 2      to make sure that there would be no evidence of his

 3      conditions; is that right?

 4                  MR. DUCKLER:      I will object to the question on

 5      the grounds of the deponent's constitutional rights

 6      against self-incrimination.

 7                  THE WITNESS:      I refuse to answer the question

 8      pursuant to my constitutional right against

 9      self-incrimination.

10      BY MR. GOODMAN:

11           Q      To prevent Joey's conditions to be examined in

12      PETA's and Ms. Scott's potential litigation against you?

13                  MR. DUCKLER:      I will object to the question on

14      the grounds of the deponent's constitutional rights

15      against self-incrimination.

16                  THE WITNESS:      I refuse to answer the question

17      pursuant to my constitutional right against

18      self-incrimination.

19      BY MR. GOODMAN:

20           Q      You hoped to put Joey and his conditions beyond

21      the reach of any suit by PETA and Ms. Scott; right?

22                  MR. DUCKLER:      I will object to the question on

23      the grounds of the deponent's constitutional rights

24      against self-incrimination.

25                  THE WITNESS:      I refuse to answer the question

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 1      pursuant to my constitutional right against

 2      self-incrimination.

 3      BY MR. GOODMAN:

 4           Q      Who did you consult with regarding that

 5      decision?

 6                  MR. DUCKLER:      I'll object to that question on

 7      the basis of attorney-client privilege and on the

 8      grounds of the deponent's constitutional rights against

 9      self-incrimination.

10                  THE WITNESS:      I refuse to answer the question

11      pursuant to my constitutional right against

12      self-incrimination.

13      BY MR. GOODMAN:

14           Q      You consulted with your prior counsel Kurtis

15      Reeg; right?

16                  MR. DUCKLER:      I'll object to that question on

17      the basis of attorney-client privilege and on the

18      grounds of the grounds of the deponent's constitutional

19      rights against self-incrimination.

20                  THE WITNESS:      I refuse to answer the question

21      pursuant to my constitutional right against

22      self-incrimination.

23      BY MR. GOODMAN:

24           Q      Were there anyone -- who else was involved in

25      any discussions you might have had with Kurtis Reeg

                                                                     Page 44

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 1      regarding this decision?

 2                  MR. DUCKLER:      I will object to the question on

 3      the grounds of the deponent's constitutional rights

 4      against self-incrimination.

 5                  THE WITNESS:      I refuse to answer the question

 6      pursuant to my constitutional right against

 7      self-incrimination.

 8      BY MR. GOODMAN:

 9           Q      Do you have any communications or e-mails, text

10      messages, written records regarding those

11      communications?

12                  MR. DUCKLER:      I will object to the question on

13      the grounds of the deponent's constitutional rights

14      against self-incrimination.

15                  THE WITNESS:      I refuse to answer the question

16      pursuant to my constitutional right against

17      self-incrimination.

18      BY MR. GOODMAN:

19           Q      Mr. Sawyer, you represented to the Court that

20      alternative means certainly exist to obtain information

21      about Joey's location; right?

22                  MR. DUCKLER:      I will object to the question on

23      the grounds of the deponent's constitutional rights

24      against self-incrimination.

25                  THE WITNESS:      I refuse to answer the question

                                                                     Page 45

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 1      pursuant to my constitutional right against

 2      self-incrimination.

 3                  MS. BERNSTEIN:       Can I ask for clarification,

 4      Counsel?     Are you saying that asking this witness to

 5      confirm that he made certain representations to the

 6      Court in filings in this matter would incriminate him?

 7                  MR. DUCKLER:      Actually, one, you heard my

 8      objection, and you're incorrect that he made

 9      representations to the Court.             I think he may be

10      misunderstanding what was written.                   He didn't write any

11      representations to the Court.             That was me.

12                  But, in any event, you heard my objection.                The

13      objection is going to be the same.

14                  MS. BERNSTEIN:       Well, I just wanted to clarify

15      the basis for your objection because it was understood

16      by us that the representations made in your filing were

17      on behalf of your client.           So to the extent that you're

18      now saying those were not representations by your client

19      and he cannot be asked -- let me finish, just to lay the

20      foundation.      And he cannot be asked consistent with his

21      privilege as to whether he made those representations;

22      is that your position?

23                  MR. DUCKLER:      I'm not going to use this

24      deposition to have a legal argument with you about

25      positions in the case.         So if you want to ask my client

                                                                        Page 46

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 1      a question, then I'll state an objection that's

 2      objectionable.      And he'll answer it if it's not.

 3                  Do you have another question for the deponent?

 4                  MS. BERNSTEIN:       Currently I'm not conducting my

 5      part of the examination.          I just wanted to clarify the

 6      basis on which you asserted the privilege.

 7                  MR. DUCKLER:      Okay.      We're just going to wait

 8      for another question.         I'm not going to have a

 9      discussion about it.

10      BY MR. GOODMAN:

11           Q      All right.     Mr. Sawyer, I am handing you what

12      is document entry No. 85 in this case.               It is your

13      Opposition to Counterclaim-Plaintiff's Motion to Compel

14      Inspection or in the Alternative Entry for Default.

15      Please read the second -- the final paragraph on that

16      page.

17                  MS. BERNSTEIN:       Page 6.

18                  MR. GOODMAN:      Yes, on page 6.

19                  MR. DUCKLER:      You want the deponent to read

20      from the document?

21      BY MR. GOODMAN:

22           Q      Please read it to yourself, Mr. Sawyer.

23                  MS. BERNSTEIN:       Might be helpful to have it out

24      loud so the record will know what's being read.

25                  THE WITNESS:      Out loud?        To myself?

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 1      BY MR. GOODMAN:

 2           Q      Please read it to yourself.

 3           A      Okay.

 4           Q      Thank you.     So in this filing you see that you

 5      represented to the Court that alternative means

 6      certainly exist to obtain information about Joey's

 7      location; right?

 8                  MR. DUCKLER:      I will object to the question on

 9      the grounds of the deponent's constitutional rights

10      against self-incrimination.

11                  THE WITNESS:      I refuse to answer the question

12      pursuant to my constitutional right against

13      self-incrimination.

14      BY MR. GOODMAN:

15           Q      I'm sorry to do this, Mr. Sawyer, but I'm going

16      to have to ask you to read that paragraph into the

17      record, then.

18                  MR. DUCKLER:      Go ahead and read it.

19                  THE WITNESS:      It continues on the second page.

20      Do you want me to continue it?

21      BY MR. GOODMAN:

22           Q      Yes.    You can start through the beginning of

23      that paragraph.

24           A      "In such an assessment of competing

25                   interests, courts standardly weigh, No.

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 1                   1, the importance of the information
 2                   sought, 2, whether there are alternative
 3                   means to obtain the information; and, 3,
 4                   whether there are remedies less drastic
 5                   than outright dismissal of the action
 6                   SERAFINO VERSUS HASBRO, INC. 83 F.3D
 7                   515,518-19 (1st cir. 1996).
 8                   Assuming" -- I don't know -- "arguendo,
 9                   that at least Counter-Plaintiff PETA
10                   believes inspection of the site where
11                   the chimp Joey is to be important, then
12                   as to the second factor, nothing in this
13                   case prevents Counter-Plaintiff PETA
14                   from using the same investigatory powers
15                   of subpoena and witness interview that
16                   every civil litigant has available to it
17                   in an active case to discern information
18                   held by others - so alternative means
19                   certainly exist.
20                         "It is instructive to be reminded
21                   Counter-Plaintiff PETA is the one that
22                   filed the counterclaim a year ago, back
23                   on June 23, 2017, and not only
24                   presumably had information then already
25                   supporting its suspicions of the chimp

                                                                    Page 49

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 1                  Joey's care at the time, assuming that

 2                  it had a legitimate good faith

 3                  independent factual basis to even assert

 4                  the counterclaim as was required of it

 5                  to have, but the burden of proof

 6                  currently to prove its counterclaims

 7                  without demanding that the only proof

 8                  come from Counter-Defendant Sawyer

 9                  alone."

10      BY MR. GOODMAN:

11           Q      Thank you, Mr. Sawyer.           So, is it not your

12      position that alternative means certainly exist to

13      obtain this information?

14                  MR. DUCKLER:      I will object to the question on

15      the grounds of the deponent's constitutional rights

16      against self-incrimination.

17                  THE WITNESS:      I refuse to answer the question

18      pursuant to my constitutional right against

19      self-incrimination.

20      BY MR. GOODMAN:

21           Q      So you're refusing to confirm that what you

22      just read from your brief is your position?

23                  MR. DUCKLER:      Is that a question to the

24      deponent?

25                  MR. GOODMAN:      Yes.

                                                                     Page 50

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 1                  MR. DUCKLER:      I will object to the question on

 2      the grounds of the deponent's constitutional rights

 3      against self-incrimination.

 4                  THE WITNESS:      I refuse to answer the question

 5      pursuant to my constitutional right against

 6      self-incrimination.

 7      BY MR. GOODMAN:

 8           Q      Sitting here today, can you identify any

 9      documents of which you are aware that contain

10      information describing or reflecting Joey's location or

11      conditions?

12                  MR. DUCKLER:      I will object to the question on

13      the grounds of the deponent's constitutional rights

14      against self-incrimination.

15                  THE WITNESS:      I refuse to answer the question

16      pursuant to my constitutional right against

17      self-incrimination.

18      BY MR. GOODMAN:

19           Q      Can you identify any persons who have

20      information about Joey's whereabouts and present

21      conditions?

22                  MR. DUCKLER:      I will object to the question on

23      the grounds of the deponent's constitutional rights

24      against self-incrimination.

25                  THE WITNESS:      I refuse to answer the question

                                                                     Page 51

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 1      pursuant to my constitutional right against

 2      self-incrimination.

 3      BY MR. GOODMAN:

 4           Q      When you or your attorney represented to the

 5      Court that the plaintiffs have alternative means to

 6      obtain information about Joey's whereabouts and current

 7      conditions, you had no idea whether the plaintiffs knew

 8      of anyone else who could provide Joey's whereabouts;

 9      correct?

10                  MR. DUCKLER:      I'll object to that question on

11      the basis of attorney-client privilege and on the

12      grounds of the deponent's constitutional rights against

13      self-incrimination.

14                  THE WITNESS:      I refuse to answer the question

15      pursuant to my constitutional right against

16      self-incrimination.

17      BY MR. GOODMAN:

18           Q      And you fully intended not to disclose the

19      identity of knowledgeable witnesses to the plaintiff;

20      right?

21                  MR. DUCKLER:      I will object to the question on

22      the grounds of the deponent's constitutional rights

23      against self-incrimination.

24                  THE WITNESS:      I refuse to answer the question

25      pursuant to my constitutional right against

                                                                     Page 52

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 1      self-incrimination.

 2      BY MR. GOODMAN:

 3           Q      So when you represented to the Court that

 4      alternative means certainly exist to obtain this

 5      information, you knew full well that plaintiffs had no

 6      such means, didn't you?

 7                  MR. DUCKLER:      I will object to the question on

 8      the grounds of the deponent's constitutional rights

 9      against self-incrimination.

10                  THE WITNESS:      I refuse to answer the question

11      pursuant to my constitutional right against

12      self-incrimination.

13      BY MR. GOODMAN:

14           Q      Mr. Sawyer, does document 85 reflect any of

15      your views and positions?

16                  MR. DUCKLER:      I will object to the question on

17      the grounds of the deponent's constitutional rights

18      against self-incrimination.

19                  THE WITNESS:      I refuse to answer the question

20      pursuant to my constitutional right against

21      self-incrimination.

22      BY MR. GOODMAN:

23           Q      Can you identify all persons who have knowledge

24      of the conditions in which Joey is kept?

25                  MR. DUCKLER:      I will object to the question on

                                                                     Page 53

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 1      the grounds of the deponent's constitutional rights

 2      against self-incrimination.

 3                  THE WITNESS:      I refuse to answer the question

 4      pursuant to my constitutional right against

 5      self-incrimination.

 6      BY MR. GOODMAN:

 7           Q      Will you please identify all persons who have

 8      knowledge of the location in which Joey is kept?

 9                  MR. DUCKLER:      I will object to the question on

10      the grounds of the deponent's constitutional rights

11      against self-incrimination.

12                  THE WITNESS:      I refuse to answer the question

13      pursuant to my constitutional right against

14      self-incrimination.

15      BY MR. GOODMAN:

16           Q      Will you identify all persons who presently

17      care for Joey?

18                  MR. DUCKLER:      I will object to the question on

19      the grounds of the deponent's constitutional rights

20      against self-incrimination.

21                  THE WITNESS:      I refuse to answer the question

22      pursuant to my constitutional right against

23      self-incrimination.

24      BY MR. GOODMAN:

25           Q      Can you identify all documents that reflect

                                                                     Page 54

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 1      Joey's location?

 2                  MR. DUCKLER:      I will object to the question on

 3      the grounds of the deponent's constitutional rights

 4      against self-incrimination.

 5                  THE WITNESS:      I refuse to answer the question

 6      pursuant to my constitutional right against

 7      self-incrimination.

 8      BY MR. GOODMAN:

 9           Q      Can you identify all documents that reflect

10      Joey's care?

11                  MR. DUCKLER:      I will object to the question on

12      the grounds of the deponent's constitutional rights

13      against self-incrimination.

14                  THE WITNESS:      I refuse to answer the question

15      pursuant to my constitutional right against

16      self-incrimination.

17      BY MR. GOODMAN:

18           Q      Can you identify all persons with whom you've

19      had written correspondence regarding this lawsuit or

20      Joey after you received the notice letter?

21                  MR. DUCKLER:      I will object to the question on

22      the basis of attorney-client privilege and on the

23      deponent's constitutional rights against

24      self-incrimination.

25                  THE WITNESS:      I refuse to answer the question

                                                                     Page 55

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 1      pursuant to my constitutional right against

 2      self-incrimination.

 3      BY MR. GOODMAN:

 4             Q    Did you preserve all such correspondence you've

 5      had?

 6                  MR. DUCKLER:      I will object to the question on

 7      the grounds of the deponent's constitutional rights

 8      against self-incrimination.

 9                  THE WITNESS:      I refuse to answer the question

10      pursuant to my constitutional right against

11      self-incrimination.

12      BY MR. GOODMAN:

13             Q    Joey is not currently held in an adequate

14      social group, is he?

15                  MR. DUCKLER:      I will object to the question on

16      the grounds of the deponent's constitutional rights

17      against self-incrimination.

18                  THE WITNESS:      I refuse to answer the question

19      pursuant to my constitutional right against

20      self-incrimination.

21      BY MR. GOODMAN:

22             Q    Joey is not provided with adequate and

23      appropriate space; correct?

24                  MR. DUCKLER:      I will object to the question on

25      the grounds of the deponent's constitutional rights

                                                                     Page 56

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 1      against self-incrimination.

 2                  THE WITNESS:      I refuse to answer the question

 3      pursuant to my constitutional right against

 4      self-incrimination.

 5      BY MR. GOODMAN:

 6           Q      Joey does not have regular and sufficient

 7      outdoor access, does he?

 8                  MR. DUCKLER:      I will object to the question on

 9      the grounds of the deponent's constitutional rights

10      against self-incrimination.

11                  THE WITNESS:      I refuse to answer the question

12      pursuant to my constitutional right against

13      self-incrimination.

14      BY MR. GOODMAN:

15           Q      Joey is not provided with an adequately

16      enriched environment, is he?

17                  MR. DUCKLER:      I will object to the question on

18      the grounds of the deponent's constitutional rights

19      against self-incrimination.

20                  THE WITNESS:      I refuse to answer the question

21      pursuant to my constitutional right against

22      self-incrimination.

23      BY MR. GOODMAN:

24           Q      Joey does not receive preventive veterinary

25      care currently; correct?

                                                                     Page 57

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 1                  MR. DUCKLER:      I will object to the question on

 2      the grounds of the deponent's constitutional rights

 3      against self-incrimination.

 4                  THE WITNESS:      I refuse to answer the question

 5      pursuant to my constitutional right against

 6      self-incrimination.

 7                  MR. GOODMAN:      I'd like to take another

 8      five-minute recess, please.

 9                  MR. DUCKLER:      Sure.

10                  MS. BERNSTEIN:       We're off the record.

11                  (Recess.)

12                  MR. GOODMAN:      Back on the record.

13                  Mr. Sawyer, those are all the questions I have

14      for you.     I'm now going to be turning over to

15      Ms. Bernstein who, as I explained, is representing

16      Ms. Scott for the purposes of this deposition.

17                                  EXAMINATION

18      BY MS. BERNSTEIN:

19           Q      Mr. Sawyer, hello.

20           A      Hello.

21           Q      You are one of the parties in this case; you

22      understand that?

23           A      Yes.

24           Q      And, in fact, you are the one who initiated the

25      proceedings in which you are now testifying; is that

                                                                     Page 58

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 1      right?

 2                  MR. DUCKLER:      I will object to the question on

 3      the grounds of the deponent's constitutional rights

 4      against self-incrimination.

 5                  THE WITNESS:      I refuse to answer the question

 6      pursuant to my constitutional right against

 7      self-incrimination.

 8      BY MS. BERNSTEIN:

 9           Q      And in this case you've had two different

10      counsel, Mr. Reeg, and currently Mr. Duckler; is that

11      right?

12           A      Yes.

13                  MR. DUCKLER:      Go ahead.

14                  MS. BERNSTEIN:       Did you want to say something,

15      Counsel?

16                  MR. DUCKLER:      That's fine.           He answered the

17      question.

18      BY MS. BERNSTEIN:

19           Q      Okay.   And your lawyers filed various papers

20      with the Court.       You're aware of that; right?

21           A      Yes.

22           Q      And in those papers and filings your lawyers

23      made various representations to the Court.                  You're aware

24      of that?

25                  MR. DUCKLER:      I'm going to object to that

                                                                       Page 59

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 1      question based on the attorney-client privilege and the

 2      grounds of the deponent's constitutional rights against

 3      self-incrimination.

 4                  THE WITNESS:      I refuse to answer the question

 5      pursuant to my constitutional right against

 6      self-incrimination.

 7      BY MS. BERNSTEIN:

 8           Q      And these representations in the filings on

 9      your behalf, did those filings and representations

10      reflect your views and positions?

11                  MR. DUCKLER:      I will object to the question on

12      the grounds of the deponent's constitutional rights

13      against self-incrimination.

14                  THE WITNESS:      I refuse to answer the question

15      pursuant to my constitutional right against

16      self-incrimination.

17      BY MS. BERNSTEIN:

18           Q      So because you refuse the question, we have to

19      guess whether or not the filings made on your behalf

20      actually reflect your views and positions; is that

21      right?

22                  MR. DUCKLER:      I'll object to that question

23      based on speculation, and on the grounds of the

24      deponent's constitutional rights against

25      self-incrimination.

                                                                     Page 60

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 1                  THE WITNESS:      I refuse to answer the question

 2      pursuant to my constitutional right against

 3      self-incrimination.

 4      BY MS. BERNSTEIN:

 5           Q      So you would have to speculate as to whether or

 6      not what your lawyers filed on your behalf actually

 7      reflected your views and position; is that right?

 8                  MR. DUCKLER:      I will object to the question on

 9      the grounds of the deponent's constitutional rights

10      against self-incrimination.

11                  THE WITNESS:      I refuse to answer the question

12      pursuant to my constitutional right against

13      self-incrimination.

14      BY MS. BERNSTEIN:

15           Q      Sitting here today, do any of the filings in

16      which your lawyers make representations on your behalf

17      incorrectly reflect your views?

18                  MR. DUCKLER:      I'll object to the question on

19      the grounds of attorney-client privilege and the

20      deponent's constitutional rights against

21      self-incrimination.

22                  THE WITNESS:      I refuse to answer the question

23      pursuant to my constitutional right against

24      self-incrimination.

25      //

                                                                     Page 61

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 1      BY MS. BERNSTEIN:

 2            Q     You're not refusing to answer based on

 3      privilege, attorney-client privilege, you're merely

 4      refusing to answer based on the Fifth Amendment

 5      privilege; is that correct?

 6                  MR. DUCKLER:      I am objecting to the question on

 7      attorney-client privilege and on that objection, if it's

 8      necessary, I'd instruct the deponent not to answer, but

 9      I'm also objecting on the deponent's constitutional

10      rights against self-incrimination, and I think he has

11      something to say about that.

12                  MS. BERNSTEIN:       Right.      He did invoke the Fifth

13      Amendment.     I want know if he's also refusing to answer

14      the question based on attorney-client privilege.

15                  MR. DUCKLER:      I'm instructing him not to

16      answer.     So he's not refusing.           I'm instructing him not

17      to.

18      BY MS. BERNSTEIN:

19            Q     So you're following your attorney's advice not

20      to answer my previous question based on the Fifth

21      Amendment as well as the attorney-client privilege; is

22      that right?

23                  MR. DUCKLER:      He's not going to answer

24      questions about whether he's following my advice or not

25      so you don't need to ask them.              Because I'm going to

                                                                     Page 62

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 1      object and instruct him not to answer those on

 2      attorney-client privilege as well, too.              He's not

 3      talking about what -- any conversations between us or

 4      any communications between us or any instructions by me

 5      to him.     I've instructed him not to answer.           He's not

 6      answering.     Ask the next question, please.

 7                  MS. BERNSTEIN:       Well, I'm entitled to know

 8      whether he's following your instructions.

 9                  MR. DUCKLER:      He is -- is he answering the

10      question?     No.   So he apparently is following the

11      instructions.

12                  MS. BERNSTEIN:       Well, he has asserted the Fifth

13      Amendment privilege.        He has not asserted that he is

14      refusing to answer based on attorney-client privilege.

15      And I'm clarifying whether he's also refusing to answer

16      based on attorney-client privilege.

17                  MR. DUCKLER:      I can't help you with that.         I've

18      instructed him not to answer.             Sounds like he's not

19      answering.     So you need to ask another question.

20      BY MS. BERNSTEIN:

21           Q      Sir, are you refusing to answer my question

22      based on the attorney-client privilege?

23                  MR. DUCKLER:      I'm going to object to that

24      question based on that attorney-client privilege, and

25      I'm going to instruct the client, the deponent, not to

                                                                     Page 63

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 1      answer.     Next question, please.

 2      BY MS. BERNSTEIN:

 3             Q    Sir, are you following your attorney's

 4      instruction?

 5                  MR. DUCKLER:      Same objection.

 6      BY MS. BERNSTEIN:

 7             Q    Are you following your attorney's instruction,

 8      sir?

 9                  MR. DUCKLER:      Same objection.

10      BY MS. BERNSTEIN:

11             Q    You still have to answer my question, sir.

12                  THE WITNESS:      I refuse to answer the question

13      pursuant to my constitutional right against

14      self-incrimination.

15                  MR. DUCKLER:      Thank you.

16      BY MS. BERNSTEIN:

17             Q    You're not asserting the attorney-client

18      privilege in response to my question; is that right?

19             A    Can you repeat the question?

20             Q    Yes.   Are you refusing to answer based on the

21      attorney-client privilege, sir?

22             A    No.

23             Q    When you -- did you -- are you the person who

24      instructed your lawyers to file the various filings that

25      were made in your name in this matter?

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 1                  MR. DUCKLER:      I'm going to object to that

 2      question on the grounds of attorney-client privilege,

 3      and I'm going to instruct the deponent not to answer

 4      that question.      I'm also going to object to that

 5      question on the grounds of the deponent's constitutional

 6      rights against self-incrimination.

 7                  Andrew, go ahead.

 8                  THE WITNESS:      I refuse to answer the question

 9      pursuant to my constitutional right against

10      self-incrimination.

11      BY MS. BERNSTEIN:

12           Q      But you're not asserting the attorney-client

13      privilege in this refusal; is that right?

14                  MR. DUCKLER:      I'm going to object to that

15      question on the grounds of the attorney-client

16      privilege.     I'm going to instruct the deponent not to

17      answer that question.         I'm also going object to the

18      question on the grounds of the deponent's constitutional

19      rights against self-incrimination.

20                  Andrew, go ahead.

21                  THE WITNESS:      I refuse to answer the question

22      pursuant to my constitutional right against

23      self-incrimination.

24      BY MS. BERNSTEIN:

25           Q      But you're not raising the attorney-client

                                                                     Page 65

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 1      privilege as grounds for failing to answer my question;

 2      is that right?

 3                  MR. DUCKLER:      If this, Martina, is where we

 4      spend the entire afternoon playing this game because

 5      it's going to annoy everybody, nothing is going to

 6      change in terms of the answer.              I'm just letting you

 7      know.     I can keep instructing him, and he'll keep

 8      following my instructions.            I'll keep asserting

 9      objections.      He'll keep asserting the same objection.

10      You can keep asking it.          I don't think anything is going

11      to change, but if that's how you want to spend this day,

12      go ahead.     Ask the next question, please.

13                  MS. BERNSTEIN:       Well, I do believe we need a

14      clean record, and I object to your characterizing it as

15      a game.     Because when we go to the judge to -- with a

16      motion to compel, we have to have a clean record as to

17      the grounds that were asserted by this witness for

18      refusing to answer.        And to the extent that this witness

19      is not invoking the attorney-client privilege as grounds

20      to refuse to answer, the record needs to be clear.

21                  MR. DUCKLER:      The record is clear exactly what

22      it is which is what he's saying.               He's saying he refuses

23      to answer pursuant to his constitutional rights against

24      self-incrimination.        That's the answer you're getting.

25      He's not answering.

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 1                  MS. BERNSTEIN:       Okay.      To the extent this

 2      witness is not asserting the attorney-client privilege

 3      as grounds for failing to answer, you agree with me it

 4      means that he is not -- that he's solely relying on the

 5      Fifth Amendment but not on the attorney-client privilege

 6      as grounds not to answer the question?

 7                  MR. DUCKLER:      No.     I am not agreeing with you

 8      about anything actually.            I instructed him not to answer

 9      based on privilege.        And I think he's following my

10      instructions because he's not answering your question.

11      So ask the next question, please.

12      BY MS. BERNSTEIN:

13           Q      Are you invoking the attorney-client privilege,

14      sir, as grounds for not answering my question?

15                  MR. DUCKLER:      Go ahead, Andrew.

16                  THE WITNESS:      What was the question?        Sorry.

17      Can you repeat?

18      BY MS. BERNSTEIN:

19           Q      Yes.   I don't blame you at all.

20                  MR. DUCKLER:      Actually, before -- before the

21      next question, Martina, can we take a break?

22                  MS. BERNSTEIN:       I don't think with a question

23      pending it's appropriate to take a break.

24                  MR. DUCKLER:      There isn't a question pending

25      actually.     It doesn't matter.          I want to take a break

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 1      and talk to my client anyway.

 2                  Andrew, can you step outside, and I can talk to

 3      you, please.

 4                  THE WITNESS:      Sure.

 5                  MS. BERNSTEIN:       Let the record reflect that the

 6      witness stepped out.        We're off the record.

 7                  (Recess.)

 8                  MS. BERNSTEIN:       Are we back on the record?

 9                  MR. DUCKLER:      I'm back on.

10      BY MS. BERNSTEIN:

11           Q      Mr. Sawyer, I just want to remind you that

12      you're still under oath.

13           A      Yes.

14           Q      Just to be clear, did you or did you not

15      authorize your lawyers to file the various filings that

16      they filed under your name in this case?

17                  MR. DUCKLER:      So I will object to that question

18      on the basis of the attorney-client privilege and on the

19      grounds of the deponent's constitutional rights against

20      self-incrimination.

21                  THE WITNESS:      I refuse to answer the question

22      pursuant to my constitutional right against

23      self-incrimination.

24      BY MS. BERNSTEIN:

25           Q      But you're not also refusing based on

                                                                     Page 68

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 1      attorney-client privilege; is that right?

 2           A      That is correct.

 3           Q      If you still have in front of you what has been

 4      filed in this case docket No. 85, it was filed on

 5      June 25th, 2018.       If you kindly turn to page 8 of 10.

 6                  At the top -- you have this in front of you.

 7      At the top of the page this filing states, "For all the

 8      reasons stated Counter-Defendant Sawyer respectfully

 9      submits," et cetera, et cetera.              Do you see that?

10           A      Yes.

11           Q      Is there a different Counter-Defendant Sawyer

12      than the one that is sitting here today?

13                  MR. DUCKLER:      I will object to the question on

14      the grounds of the deponent's constitutional rights

15      against self-incrimination.

16                  THE WITNESS:      I refuse to answer the question

17      pursuant to my constitutional right against

18      self-incrimination.

19      BY MS. BERNSTEIN:

20           Q      You're refusing to tell me whether you are the

21      Counter-Defendant Sawyer who made the filing document 85

22      to the Court?

23                  MR. DUCKLER:      I will object to the question on

24      the grounds of the deponent's constitutional rights

25      against self-incrimination.

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 1                  THE WITNESS:      I refuse to answer the question

 2      pursuant to my constitutional right against

 3      self-incrimination.

 4      BY MS. BERNSTEIN:

 5           Q      There is a signature block under your counsel's

 6      name.    There's a reference here to attorney for

 7      Plaintiff and Counter-Defendant Andrew Sawyer.               Do you

 8      see that?

 9           A      Yes.

10           Q      Is it your understanding you are the Plaintiff

11      and Counter-Defendant, Andrew Sawyer?

12                  MR. DUCKLER:      I will object to the question on

13      the grounds of the deponent's constitutional rights

14      against self-incrimination.

15                  THE WITNESS:      I refuse to answer the question

16      pursuant to my constitutional right against

17      self-incrimination.

18      BY MR. GOODMAN:

19           Q      Did you, sir, hire Mr. Duckler to represent you

20      in this case?

21                  MR. DUCKLER:      I'll object to that on the basis

22      of attorney-client privilege and on the grounds of the

23      deponent's constitutional rights against

24      self-incrimination.

25                  MS. BERNSTEIN:       The basis for the

                                                                     Page 70

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 1      attorney-client privilege requires you, sir, to

 2      establish that you have an attorney-client relationship

 3      with this witness.       So to the extent that you are saying

 4      this witness will not be allowed to say whether or not

 5      he has you as his attorney in this case, your claim for

 6      attorney-client privilege cannot in any way be

 7      substantiated, wouldn't that be right?

 8                  MR. DUCKLER:      Do you have a suspicion that I'm

 9      not his lawyer right now?           Do you think that maybe I'm

10      not his attorney?       Is that a reasonable position to

11      take, Martina, to think maybe right now as we sit here

12      maybe I'm not his lawyer?

13                  MS. BERNSTEIN:       Well, certainly based on the

14      refusal to answer.

15           Q      Sir, can you answer the following question ...

16                  MR. DUCKLER:      No.     That would be a fascinating

17      position for me to hear you explain to a judge that in

18      the middle of the deposition of my client you somehow

19      have a reasonable belief based on something, not

20      anything I'm aware of, but something, that I'm not his

21      attorney.

22                  So, sure, yeah, I'll tell you on the record I'm

23      his lawyer.      Does that help?

24      BY MS. BERNSTEIN:

25           Q      Mr. Sawyer, did you retain Mr. Duckler as your

                                                                     Page 71

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 1      attorney to file this document No. 85 for you on your

 2      behalf?

 3                  MR. DUCKLER:      Go ahead and answer that.

 4                  THE WITNESS:      Yes.

 5      BY MS. BERNSTEIN:

 6           Q      And the statements that Mr. Duckler made on

 7      your behalf, are those reflective of your views and your

 8      positions in this case?

 9                  MR. DUCKLER:      So I'll object to that question

10      on the grounds of the deponent's constitutional rights

11      against self-incrimination.

12                  THE WITNESS:      I refuse to answer the question

13      pursuant to my constitutional right against

14      self-incrimination.

15                  MS. BERNSTEIN:       Thank you, Mr. Sawyer.       That's

16      all I have.

17                  MR. GOODMAN:      I'll pass the witness.

18                  MR. DUCKLER:      I have no questions for the

19      witness.

20                  Andrew, you can leave and give me a call as you

21      head out so we can debrief.

22                  MS. BERNSTEIN:       We're off the record.

23      (TIME NOTED:      11:16 a.m.)

24      //

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